






	








NUMBER 13-08-00260-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________


MICHAEL ALAN GARDNER,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the County Court at Law No. 3


of Collin County, Texas. (1)


____________________________________________________________


MEMORANDUM OPINION



Before Justices Yanez, Rodriguez and Vela 


Memorandum Opinion Per Curiam



	Appellant, Michael Alan Gardner, by and through his attorney, has filed a motion to
dismiss his appeal because he no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this the 25th day of August, 2008.
1. This appeal was transferred to this Court from the Fifth Court of Appeals by order of the Texas
Supreme Court.  See Tex. Gov't Code Ann. § 22.220 (Vernon 2004) (delineating the jurisdiction of appellate
courts); Tex. Gov't Code Ann. § 73.001 (Vernon 2005) (granting the supreme court the authority to transfer
cases from one court of appeals to another at any time that there is "good cause" for the transfer). 


